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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



ANTHONY PERRY,

                Plaintiff,

       v.                                                   Case No. 1:17-cv-01932-TSC

WILBUR ROSS,
United States Secretary of Commerce,

                Defendant.



                                  NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

      Please enter the appearance of James A. Kraehenbuehl as counsel in this case for
Anthony Perry solely for the purposes of mediation.

       Dated March 15, 2018.

                                                        Respectfully Submitted,

                                                        /s/ James Kraehenbuehl

                                                        James Kraehenbeuhl (DC Bar No. 1017809)
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                                                        Counsel for Anthony Perry
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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2018, I served the foregoing Notice of Appearance

upon counsel for Defendant by ECF.




                                                  /s/ James Kraehenbuehl

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